                                             Entered on Docket
                                             January 26, 2021
                                             EDWARD J. EMMONS, CLERK
                                             U.S. BANKRUPTCY COURT
                                             NORTHERN DISTRICT OF CALIFORNIA


 1                                             Signed and Filed: January 26, 2021

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                                               ________________________________________
 5                                             DENNIS MONTALI
                                               U.S. Bankruptcy Judge
 6
 7                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF CALIFORNIA
 8
 9   In re:                            ) Bankruptcy Case
                                       ) No. 19-30088-DM
10   PG&E CORPORATION,                 )
                                       ) Chapter 11
11                - and -              )
12                                     ) Jointly Administered
     PACIFIC GAS AND ELECTRIC COMPANY, )
13                                     )
               Reorganized Debtors.    )
14                                     )
                                       )
15   ☐ Affects PG&E Corporation        )
     ☐ Affects Pacific Gas and         )
16        Electric Company             )
                                       )
17   ☒ Affects both Debtors            )
                                       )
18   * All papers shall be filed in    )
     the Lead Case, No. 19-30088 (DM). )
19                                     )

20
           ORDER DENYING M0TION TO APPLY BANKRUPTCY RULE 7023 AND
21                         CERTIFY A LIMITED CLASS
22        For the reasons stated in the court’s oral ruling on

23   December 4, 2020, and in the Order Approving Securities ADR and

24   Related Procedures for Resolving Subordinated Securities Claims

25   (Dkt. No. 10015) entered on January 25, 2021, the Securities

26   Lead Plaintiff’s Motion to Apply Bankruptcy Rule 7023 and

27   Certify a Limited Class (Dkt. No. 9152) is DENIED.

28                                 **END OF ORDER**

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     Case: 19-30088   Doc# 10020   Filed: 01/26/21   Entered: 01/26/21 13:32:46     Page 1
                                            of 1
